Case 1:19-cv-24766-KMW Document 342 Entered on FLSD Docket 01/07/2023 Page 1 of 9




                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                              Miami Division

                                 CASE NO.: 19-cv-24766-WILLIAM/TORRES

   JANE DOE,

            Plaintiff,

   v.

   CARNIVAL CORPORATION,

         Defendant.
   _________________________________/

                             DEFENDANT’S MOTION FOR REMITTITUR1

            Defendant, Carnival Corporation (“Carnival”), moves the Court to remit the jury verdict to

   a reasonable amount pursuant to the Fed. R. Civ. P. 59(a)(1)(A).

                                                    INTRODUCTION

            This is a maritime case in which Plaintiff alleged that, while playing “hide and seek” while

   “blacked out drunk,” a crewmember aboard the Carnival Miracle falsely imprisoned and sexually

   assaulted her in a storage closet. [Trial Tr. Day 6 at 244:14–16]. A jury found Carnival liable on

   one of Plaintiff’s claims—vicarious liability for the crewmember’s assault—and awarded

   $10,243,000 in damages [ECF No. 307].

            The amount of the jury’s award does not bear any rational relation to the evidence presented

   at trial, and the damages awarded exceed the award in a substantially similar case ten-fold. Other

   courts have found remittitur appropriate in similar circumstances. This Court should do the same

   by remitting the jury’s award to the maximum amount the evidence supports: $1,243,000.



   1
    By seeking remittitur, Carnival does not waive its claimed entitlement to a new trial, as set forth in its motion for
   new trial. [ECF No. 329].


                                                MASE MEBANE SEITZ
Case 1:19-cv-24766-KMW Document 342 Entered on FLSD Docket 01/07/2023 Page 2 of 9

                                                                      CASE NO.: 19-cv-24766-KMW


                                        FACTUAL BACKGROUND

          Prior to trial, the Court entered partial summary judgment for Plaintiff on the false

   imprisonment claim. The jury found Carnival vicariously liable on the assault claim. It found for

   Carnival on all other claims.

          Plaintiff drank heavily on the day and evening of her encounter with the crewmember,

   Fredy Anggara, and had only a hazy recollection of it. [Trial Tr. Day 6 at 244:14–16]. She did not

   recall whether she asked Anggara to help her hide from her friend, whether she ever tried to leave

   the closet, or whether she consented to a sexual encounter. [Trial Tr. Day 5 at 236:25–237:2;

   235:6–8; 244:8–10].

          Plaintiff sought $60,243,000 in damages: $3,000 for past medical care, $240,000 for future

   medical care, and $60,000,000 for past and future pain and suffering. Her past and future damages

   were nonphysical: mental anguish, pain and suffering and post-traumatic stress disorder (PTSD).

   Plaintiff testified she contemplated suicide after the encounter, experienced flashbacks making her

   nervous and scared, and had trouble sleeping at night. [Trial Tr. Day 5 at 223:25–224:5]. But she

   obtained little medical treatment prior to trial. [Trial Tr. Day 5 at 250:14–18].

          Plaintiff testified that she stopped contemplating suicide after the birth of her son. [Trial

   Tr. Day 5 at 222:21–223:4]. By the time of trial, she was in a happy romantic relationship with

   Mr. Bradley Boaz, the father of her son, with whom she often spends time when not working.

   [Trial Tr. Day 5 at 157:12–15; 224:6–10]. She said she planned to have another child with Mr.

   Boaz, go to business school, start a professional career, and to “move forward and be a good mom.”

   [Trial Tr. Day 5 at 224:6–10; 226:15–18].

          Plaintiff’s psychological expert, Dr. Cheri Surloff, examined Plaintiff twice before trial,

   and testified that Plaintiff was diagnosed with obsessive compulsive disorder, bipolar disorder,



                                                    2
                                               MASE SEITZ
Case 1:19-cv-24766-KMW Document 342 Entered on FLSD Docket 01/07/2023 Page 3 of 9

                                                                       CASE NO.: 19-cv-24766-KMW


   and depression prior to the cruise. [Trial Tr. Day 5 at 98:3–25 and 103:5–22]. She experienced

   serious past traumas in her early life, including the death of her father at age six, molestation by

   her grandfather, and her mother’s substance abuse. [Trial Tr. Day 5 at 49:20–50:6]. Dr. Surloff

   explained that Plaintiff accordingly had post-traumatic stress disorder symptoms well prior to the

   cruise, including as recently as two weeks before. [Trial Tr. Day 5 at 106:21–107:12]. Dr. Surloff

   also testified that Plaintiff previously exhibited tendencies of self-harm and had attempted suicide

   on multiple occasions during her youth. [Trial Tr. Day 5 at 97:5–24; 103:15–22]. Plaintiff’s

   encounter with Anggara caused post-traumatic stress “because of the other things that happened

   to her that made her anxious and depressed as a child.” [Trial Tr. Day 5 at 53:2–8].

          Plaintiff did not consistently seek mental-health care after the cruise. She saw a psychiatrist

   twice, despite his recommendation that she undergo “counseling on an ASAP basis.” [Trial Tr.

   Day 5 at 250:14–18]; see e.g., Def. Trial Ex. 7-5 and 7-15. She also sought remote treatment

   through a phone application that offers online mental health assistance, [Trial Tr. Day 5 at 251:1–

   22] but did not provide any records of that treatment. [Trial Tr. Day 5 at 234:6–16].

          As Carnival has explained in its separate new-trial motion, the jury was deprived of the

   instruction needed to assess the proper amount of damages based on the evidence. Instead,

   Plaintiff’s $60 million demand became the sole “anchor” for the jury’s damages calculations,

   leading to a verdict that is irreconcilable with the actual evidence in the case.

                                         MEMORANDUM OF LAW

          It is well established that this Court has the discretion to remit excessive verdicts that are

   outside the bounds of the evidence. Remittitur is a vehicle to remedy the jury’s excessive verdict

   and potentially avoid a new trial. See Johansen v. Combustion Eng’g, Inc., 170 F.3d 1320, 1328

   (11th Cir. 1999). The Court should remit the jury’s verdict to the maximum amount that the



                                                     3
                                               MASE SEITZ
Case 1:19-cv-24766-KMW Document 342 Entered on FLSD Docket 01/07/2023 Page 4 of 9

                                                                                  CASE NO.: 19-cv-24766-KMW


   evidence can support: $3,000 for past medical expenses, $240,000 for future medical expenses,

   $500,000 for past pain and suffering, and $500,000 for future pain and suffering, a total verdict of

   $1,243,000.

   I.       Legal Standard

            “A federal court’s power to order a remittitur grew out of [its] authority to grant a new

   trial.” Id. (internal quotations omitted).2 “‘Remittitur’ is the procedural process by which an

   excessive verdict of the jury is reduced. It is well understood that a ‘jury’s verdict should not be

   disturbed if there is competent evidence in the record to support’” it. Moses v. K-Mart Corp., 905

   F. Supp. 1054, 1057 (S.D. Fla. 1995) (internal citations omitted). In considering a motion for

   remittitur, “the standard for determining the appropriateness of the award is whether it exceeds the

   amount established by the evidence.” Id. (citing Goldstein v. Manhattan Indus., Inc., 758 F.2d

   1435, 1448 (11th Cir. 1985)). “The Court is not to substitute its judgment for the jury’s, and where

   there is sufficient evidence in the record to support the award, the Court should not reduce the

   award merely because it would have found differently.” Id. The party claiming the award as

   excessive “has the burden of showing it is unsupported by the evidence, or that the jury was

   influenced by passion or prejudice.” Goodloe v. Royal Caribbean Cruises, Ltd., 418 F. Supp. 3d

   1112, 1130 (S.D. Fla. 2019).

   II.      Argument

            In determining the appropriateness of an award of compensatory damages, courts consider

   (1) the size of the award; (2) the rational relationship between the award and the evidence adduced

   at trial; and (3) awards in similar cases. Copley v. BAX Global, Inc., 97 F. Supp. 2d 1164, 1172


   2
     Under Federal Rule of Civil Procedure 59(a)(1)(A), a court may grant a new trial “on all or some of the issues . . .
   for any reason for which a new trial has heretofore been granted in an action at law in federal court.” Fed. R. Civ. P.
   59(a)(1)(A). An excessive award of damages is one of those reasons. Goodloe v. Royal Caribbean Cruises, Ltd., 418
   F. Supp. 3d 1112, 1120 (S.D. Fla. 2019).

                                                             4
                                                      MASE SEITZ
Case 1:19-cv-24766-KMW Document 342 Entered on FLSD Docket 01/07/2023 Page 5 of 9

                                                                       CASE NO.: 19-cv-24766-KMW


   (S.D. Fla. 2000). To determine whether the jury’s award is within the range dictated by the

   evidence, a court must view the evidence in the light most favorable to the non-moving party.

   Rodriguez v. Farm Stores Grocery, Inc., 518 F.3d 1259, 1266 (11th Cir. 2008).

          a.      There is no rational relationship between the evidence and the size of the jury’s
                  award of damages.

          The trial evidence highlights the excessive nature of the jury’s award. To prove that she

   suffered a variety of emotional and psychological damages, Plaintiff offered her own testimony

   and that of Dr. Cheri Surloff, her expert psychological witness. [Trial Tr. Day 5 at 40–154; 155–

   263]. Plaintiff testified that she suffered depression, anxiety, suicidal thoughts, and other emotional

   damages—but she also testified that she had suffered significant emotional distress and

   psychosexual trauma well before her sexual assault. [Trial Tr. Day 5 at 49:20–50:6; 97:17–24;

   103:5–22; 215:20–224:13]. Dr. Surloff testified that Plaintiff’s symptoms reflected post-traumatic

   stress disorder “because of the other things that happened to her that made her anxious and

   depressed as a child.” [Trial Tr. Day 5 at 53:2–8]. Dr. Surloff confirmed that Plaintiff had PTSD

   and symptoms of depression, anxiety, and suicidal thoughts for years before her encounter with

   Anggara. [Trial Tr. Day 5 at 49:20–50:6; 97:17–24; 103:5–22]. And by the time of trial, Plaintiff

   by her own account was functioning well, caring for her son, spending time with her partner,

   planning for another child and for business school, a professional career, and to “move forward

   and be a good mom.” [Trial Tr. Day 5 at 224:6–10; 226:15–18].

          Given Plaintiff’s long history of preexisting trauma, stress, and anxiety prior to the events

   giving rise to her claim here, the jury’s award of $10,000,000 in pain-and-suffering-related

   damages lacks any rational relationship to Plaintiff’s own testimony. “In general, a remittitur order

   reducing a jury’s award to the outer limit of the proof is the appropriate remedy where the jury’s

   damage award exceeds the amount established by the evidence.” Collins v. Koch Foods, Inc., No.


                                                     5
                                               MASE SEITZ
Case 1:19-cv-24766-KMW Document 342 Entered on FLSD Docket 01/07/2023 Page 6 of 9

                                                                      CASE NO.: 19-cv-24766-KMW


   20-13158, 2022 WL 1741775, at *4 (11th Cir. May 13, 2022) (quoting Goldstein, 758 F.2d at

   1448). Given the limited evidence at trial, this Court should remit the jury’s $10,243,000 award of

   damages to $1,243,000; the evidence does not support any number beyond that.

          b.      The sheer size of the jury’s award is excessive.

          A jury’s award of pain and suffering damages “depends heavily on the facts,” and “the sky

   is not the limit.” Markland v. Norfolk Dredging Co., 772 F. Supp. 1241, 1243 (M.D. Fla. 1991).

   By requesting the jury to award her over $60,000,000 in pain-and-suffering-related damages,

   Plaintiff aimed beyond the sky—she shot for the moon. [Trial Tr. Day 6 at 106:2–23; 140:2–8].

   Plaintiff’s request to the jury for this exorbitant amount served as an unfairly prejudicial anchor to

   which the jury’s calculation of damages was tied.

           “‘[A]nchoring and adjustment’ is a bias in which individuals’ numerical judgments are

   inordinately influenced by an arbitrary or irrelevant number.” Chapman & Bornstein, The More

   you Ask for, the More You Get: Anchoring in Personal Injury Verdicts, 10 APPLIED COGNITIVE

   PSYCHOLOGY 519, 519 (1996) (citing Kahneman & Tversky, Judgment under Uncertainty:

   Heuristics and Biases, 185 SCIENCE 1124 (1974)). Anchoring bias in the context of civil jury

   verdicts is well known, and its inflationary effects have been thoroughly documented. See, e.g.,

   Campbell, et al., Countering the Plaintiff’s Anchor: Jury Simulations to Evaluate Damages

   Arguments, 101 IOWA L. REV. 543, 546 (2016) (“Numerous studies have suggested that a

   successful plaintiff can obtain a higher damage award simply by . . . requesting more money from

   the jury. Psychologists call this an ‘anchoring effect,’ referring to when ‘individuals’ numerical

   judgments are influenced by an arbitrary or irrelevant number.’”); see also John Malouff & Nicola

   S. Schutte, Shaping Juror Attitudes: Effects of Requesting Different Damage Amounts in Personal




                                                     6
                                               MASE SEITZ
Case 1:19-cv-24766-KMW Document 342 Entered on FLSD Docket 01/07/2023 Page 7 of 9

                                                                        CASE NO.: 19-cv-24766-KMW


   Injury Trials, 129 J. SOC. PSYCHOL. 491, 495 (1989) (“The primary finding of the present

   experiment was that when more money was requested for damages . . . the jurors awarded more.”).

          The effect of anchoring bias was clear here: The sheer size of the jury’s award—rendered

   despite delivering a verdict for Carnival on all other remaining counts—plainly keyed off of

   Plaintiff’s counsel’s excessive request of over $60,000,000, given that the size of the jury’s award

   does not rationally relate at all to the actual evidence of Plaintiff’s damages.

          c.      Other jury verdicts and orders of remittitur in similar cases shows that
                  remittitur is appropriate.

          This Court can consult the size of jury awards in factually analogous cases in addition to

   other types of cases in which a court has found remittitur appropriate. The most factually analogous

   case is Doe v. Celebrity Cruises, in which a jury in the Southern District of Florida awarded the

   plaintiff $1,000,000 after a crewmember aboard the M/V Zenith was found to have sexually

   battered her. See 00-cv-02523, 2002 WL 34683586 (S.D. Fla. Nov. 22, 2002) (summary of jury

   verdict). The plaintiff in Doe v. Celebrity and Plaintiff in the instant case suffered similar injuries:

   both alleged they were held against their will for a brief period and sexually assaulted. Celebrity

   Cruises, 00-civ-02523, 2001 WL 345453389 (S.D. Fla. Aug. 2, 2001) (Plaintiff’s Third Amended

   Complaint). A notable contrast between the two cases, however, is that plaintiff in Doe v. Celebrity

   sought and obtained punitive damages in addition to compensatory damages for pain, suffering,

   and humiliation—all of which added up to one million dollars. Id. The jury’s ten-million-dollar

   compensatory award in the instant case—with no punitives awarded—dwarfs the compensatory-

   plus-punitive award in that case despite the significant factual resemblance.

          Other cases also present comparable fact patterns. The court in Moreno v. Neiman-Marcus

   remitted a $500,000 award for emotional distress damages in an employment discrimination case

   to $80,000 because the plaintiff’s testimony—like Plaintiff’s testimony here—reflected that she


                                                      7
                                                MASE SEITZ
Case 1:19-cv-24766-KMW Document 342 Entered on FLSD Docket 01/07/2023 Page 8 of 9

                                                                      CASE NO.: 19-cv-24766-KMW


   suffered symptoms of emotional distress before suffering the injury. See, e.g., Case No. 05-22488-

   CIV-SEITZ/MCALILEY, 2007 WL 970147, at *2 (S.D. Fla. Feb. 14, 2007). Thus, in considering

   whether to remit an excessive jury verdict for emotional damages, courts consider all the factual

   circumstances, including pre-existing stress or trauma not attributable to the case. And even in

   cases of significant injury, courts remit staggering verdicts to bring those awards into some

   relationship with the evidence in the case.

          Plaintiff’s preexisting psychological state and her recovery following the encounter

   mitigate her damages for pain and suffering. Plaintiff by her own admission struggled with her

   mental health and contemplated self-harm before her encounter aboard the Carnival Miracle.

   [Trial Tr. Day 5 at 97:5–24]. She also testified that those thoughts stopped after she gave birth to

   her son following her encounter aboard the Miracle and that she is now in a stable relationship and

   wants to have another child and start a professional career. [Trial Tr. Day 5 at 157:12–15; 222:21–

   223:4; 224:6–10; 226:15–18]. The compensable harm at issue, in other words, is limited by

   Plaintiff’s own evidence to a narrow band of time following the encounter itself.

          The facts here, considered in totality and in the light most favorable to Plaintiff, support at

   most a verdict of $1,243,000: $3,000 for past medical expenses, $240,000 for future medical

   expenses, $500,000 for past pain and suffering, and $500,000 for future pain and suffering.

                                                 CONCLUSION

          The jury’s award of $10,243,000 substantially exceeded any reasonable amount supported

   by the evidence in this case. This Court should remit the jury’s award of damages to the maximum

   amount that the evidence supports, $1,243,000.

          WHEREFORE, Carnival requests the Court grant the relief requested, and any other relief
   it deems just and proper.




                                                     8
                                                 MASE SEITZ
Case 1:19-cv-24766-KMW Document 342 Entered on FLSD Docket 01/07/2023 Page 9 of 9

                                                                      CASE NO.: 19-cv-24766-KMW


               CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(3)

          Undersigned counsel certifies that it has conferred with Counsel for Plaintiff in a good faith

   effort to resolve the issues in this motion, and that Counsel for Plaintiff opposes relief requested.

                                                 Respectfully submitted,

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                                                     9
                                               MASE SEITZ
